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   IN THE GENERAL DIVISION OF THE HIGH COURT OF THE REPUBLIC OF SINGAPORE

Case No.: HC/OA 947/2023                   In the matter of Section 29 of the International Arbitration Act 1994
Sub Case No.: HC/SUM 2818/2023
                                                                           And
Doc No.: HC/ORC 4428/2023
Filed: 21­September­2023 11:36 AM              In the matter of Order 48, Rule 6 of the Rules of Court 2021

                                                                           And

                                          In the matter of an arbitration between (1) Liberty Steel East Europe
                                               (Bidco) Limited and (2) Liberty House Group Pte Limited as
                                                Claimants; Liberty Steel East Europe (Holdco) Limited as
                                           Counterclaim Respondent; and (1) ArcelorMittal Holdings AG and
                                                     (2) ArcelorMittal Luxembourg as Respondents
                                                                         Between
                                               ArcelorMittal Holdings AG
                                               (Switzerland Registration No. CHE­112.701.185)
                                                                                                   ...Applicant(s)
                                                                            And
                                          1.   Liberty Steel East Europe (Holdco) Limited
                                               (United Kingdom Registration No. 11604439)

                                          2.   Liberty House Group Pte Limited
                                               (Singapore UEN No. 201113318W)
                                                                                                 ...Respondent(s)


                                                ORDER OF COURT




Case No:              HC/OA 947/2023
SubCase No:           HC/SUM 2818/2023
Before:               The Honourable Justice Lee Seiu Kin
Venue:                Supreme Court Chamber 4D
Hearing date/Time: 19­September­2023 at 10:00 AM

INJUNCTION PROHIBITING DISPOSAL OF ASSETS IN SINGAPORE
To: The Respondents

1. This order prohibits you from dealing with your assets up to the amount stated. The order is subject to the
exceptions stated at the end of the order. You should read all the terms of the order very carefully. You are
advised to consult a solicitor as soon as possible. You have a right to ask the Court to vary or discharge this order.

If you disobey this order you will be guilty of contempt of Court and may be sent to prison or fined.

THE ORDER

Disposal of assets

1. (a) The Respondents must not remove from Singapore,in any way dispose of or deal with or diminish the
value of, any of their assets which are in Singapore whether in their own name or not and whether solely or
jointly owned up to the value €150,725,342.47.

   (b) This prohibition includes the following assets, in particular:
                                                            1
       (i) Shares or ownership interest in Liberty Industries Holding Pte Ltd;
THE ORDER
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Disposal of assets

1. (a) The Respondents must not remove from Singapore,in any way dispose of or deal with or diminish the
value of, any of their assets which are in Singapore whether in their own name or not and whether solely or
jointly owned up to the value €150,725,342.47.

   (b) This prohibition includes the following assets, in particular:

       (i) Shares or ownership interest in Liberty Industries Holding Pte Ltd;

       (ii) Shares or ownership interest in LMR Holding Pte Ltd;

       (iii) Shares or ownership interest in Liberty Steel Group Pte Ltd;

       (iv) Shares or ownership interest in Liberty Engineering Group Pte Ltd;

       (v) Shares or ownership interest in Liberty Performance Steels Pte Ltd;

       (vi) Shares or ownership interest in Liberty Steel Holding Pte Ltd;

       (vii) Shares or ownership interest in Liberty Advanced Engineering Products Pte Ltd;

       (viii) Shares or ownership interest in Liberty Tubular Solutions Pte Ltd;

       (ix) Shares or ownership interest in Liberty Distribution Pte Ltd;

       (x) Shares or ownership interest in Liberty Primary Steel & Mining Pte Ltd;

       (xi) Shares or ownership interest in Liberty Steel France Pte Ltd; and

       (xii) any interest under any trust or similar entity including any interest which can arise by virtue of
       the exercise of any power of appointment, discretion or otherwise howsoever.

    (c) If the total unencumbered value of the Respondents’ assets in Singapore exceeds €150,725,342.47, the
Respondents may remove any of those assets from Singapore or may dispose of or deal with them so long as the
total unencumbered value of their assets still in Singapore remains not less than €150,725,342.47.

Disclosure of information

2. The Respondents must inform the Applicant in writing at once of all their assets in Singapore whether in their
own name or not and whether solely or jointly owned, and whether the Respondents are interested in them
legally, beneficially or otherwise, giving the value, location and details of all such assets. The information must be
confirmed in an affidavit which must be served on the Applicant’s solicitor within 14 days after this order has
been served on the Respondents. For the purposes of this order, the Respondents’ assets include any asset which
they have the power, directly or indirectly, to dispose of or deal with as if it were their own. The Respondents are
to be regarded as having such power if a third party holds or controls the asset in accordance with their direct or
indirect instructions.

EXCEPTIONS TO THIS ORDER

3. This order does not prohibit the Respondents from spending a reasonable sum on legal advice and
representation. But before spending any money, the Respondents must tell the Applicant’s solicitor where the
money is to come from.

4. This order does not prohibit the Respondents from dealing with or disposing of any of their assets in the
ordinary and proper course of business, provided that the Respondents provide the Applicant with advance
notification of such anticipated dealings or disposals. The Respondents must account to the Applicant within 14
days for the amount of money spent in this regard.

5. The Respondents may agree with the Applicant’s solicitor that the above spending limits should be increased
or that this order should be varied in any other respect but any such agreement must be in writing.

EFFECT OF THIS ORDER

6. A Respondent who is an individual who is ordered not to do something must not do it himself or in any other
way. He must not do it through others acting on his behalf or on his instructions or with his encouragement.

7. A Respondent which is a corporation and which is ordered not to do something must not do it itself or by its
directors, officers, partners, employees or agents or in any
                                                           2 other way.
5. The Respondents may agree with the Applicant’s solicitor that the above spending limits should be increased
   Case
or that this 1:23-mi-00106-TWT-CMS                  Document
             order should be varied in any other respect           5-25
                                                         but any such      Filedmust
                                                                      agreement  10/26/23        Page 3 of 5
                                                                                     be in writing.

EFFECT OF THIS ORDER

6. A Respondent who is an individual who is ordered not to do something must not do it himself or in any other
way. He must not do it through others acting on his behalf or on his instructions or with his encouragement.

7. A Respondent which is a corporation and which is ordered not to do something must not do it itself or by its
directors, officers, partners, employees or agents or in any other way.

THIRD PARTIES

Effect of this order

8.     It is a contempt of Court for any person notified of this order knowingly to assist in or permit a breach of
the order. Any person doing so may be sent to prison or fined.

Set­off by banks

9.     This injunction does not prevent any bank from exercising any right of set­off it may have in respect of any
facility which it gave to the defendant before it was notified of the order.

Withdrawals by the defendant

10.   No bank need enquire as to the application or proposed application of any money withdrawn by the
Respondents if the withdrawal appears to be permitted by this order.

UNDERTAKINGS

12. The Applicant gives to the Court the undertakings set out in Schedule 1 to this order.

DURATION OF THIS ORDER

13. This order will remain in force until further order.

VARIATION OR DISCHARGE OF THIS ORDER

14.     The Respondents (or anyone notified of this order) may apply to the Court at any time to vary or
discharge this order (or so much of it as affects that person), but anyone wishing to do so must inform the
Applicant’s solicitor.

NAME AND ADDRESS OF APPLICANT'S SOLICITOR

15.    The Applicant’s solicitors are:

       Chua Sui Tong / Wong Wan Chee / Abigail Tang

       Rev Law LLC

       1D Duxton Hill

       Singapore 089587

       Email: suitong@revlawllc.com / wanchee@revlawllc.com / abigail@revlawllc.com

       Tel No.: 6802 8008

       File Ref No.: CST/WWC/AT/202300582

INTERPRETATION OF THIS ORDER

16.     (a)   In this order references to “he”, “him” or “his” include “she” or “her” and “it” or “its”.

        (b) Where there are 2 or more Respondents then (unless the context indicates differently):

              (i)   References to “the Respondents” mean both or all of them;

            (ii) An order requiring “the Respondents” to do or not to do anything requires each defendant to do
or not to do the specified thing; and                 3
INTERPRETATION OF THIS ORDER
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16.      (a)   In this order references to “he”, “him” or “his” include “she” or “her” and “it” or “its”.

          (b) Where there are 2 or more Respondents then (unless the context indicates differently):

               (i)   References to “the Respondents” mean both or all of them;

            (ii) An order requiring “the Respondents” to do or not to do anything requires each defendant to do
or not to do the specified thing; and

          (iii) A requirement relating to service of this order or of any legal proceedings on “the Respondents”
means service on each of them.




 Date of Order : 19 September 2023

 Notes:
 1. The person or entity served with this judgment/order and who/which has been ordered
 to pay money, to do or not to do any act must comply immediately or within the time
 specified in the judgment/order, if any.
 2. Failure to comply may result in enforcement of judgment/order proceedings, including
 contempt of Court proceedings, against the said person or entity.

   1   Name of                Schedule 1
       Document:
       Annex:




QRCodeImg



                                                                  HC/OA947/2023:HC/SUM2818/2023:HC/ORC4428/2023:HC/OA947/2023:HC/SUM2818/2



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                                                 SCHEDULE 1

                               Undertakings given to the Court by the Applicant

                 1.    If the Court later finds that this order has caused loss to the Respondents,
                       and decides that the Respondents should be compensated for that loss, the
                       Applicant will comply with any order the Court may make.

                 2.     As soon as practicable the Applicant will serve on the Respondents the
                       Order giving permission to enforce the foreign arbitral award together with
                       this order.

                 3.    As soon as practicable the Applicant will serve on the Respondents a copy
                       of the affidavits and exhibits containing the evidence relied on by the
                       Applicant.

                 4.    Anyone notified of this order will be given a copy of it by the Applicant’s
                       solicitor.

                 5.    The Applicant will pay the reasonable costs of anyone other than the
                       Respondents which have been incurred as a result of this order including
                       the costs of ascertaining whether that person holds any of the Respondents’
                       assets and if the Court later finds that this order has caused such person
                       loss, and decides that such person should be compensated for that loss, the
                       Applicant will comply with any order the Court may make.

                 6.    If this order ceases to have effect, the Applicant will immediately take all
                       reasonable steps to inform in writing anyone to whom he has given notice
                       of this order, or who he has reasonable grounds for supposing may act upon
                       this order, that it has ceased to have effect.




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                                                     Order Number: HC/ORC 4428/2023 (Case Number: HC/OA 947/2023)
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